Case 2:05-cr-20070-.]PI\/| Document 35 Filed 08/19/05 Page 1 of 2 Page|D 47

HUH}BYM.“__{lC.
:N THE UNITED sTATEs DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE QSAUG|Q AH 5:50
wEsTERN DIVISION
HDWHMLDHD
ClEHK,US.DEIHETCOUHT
UN:TED sTATEs OF AMERICA, W®O?WjHMHM
vs. NO. 05-20070-Ma
vERONDA JACKSON,

Defendant.

 

ORDER OF TRANSFER

 

The defendant Veronda Jackson has a related case pending
before Judge J. Daniel Breen. The above-styled case as to
defendant Veronda Jackson only is hereby transferred to Judge
Daniel Breen in exchange for an equivalent case. Co-defendant
Sandra Boyland will remain assigned to Judge Mays. The parties
shall, On all pleadings and correspondence related to this

matter, change the judge’s initials in the case number from “Ma”

to \\B. ll

It is so ORDERED this )g/Lday of August, 2005.

J/W/lw.,w

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

nconwma“o€
{

h ,1sheeti
. entered 0\’\ me douk?_'_g_/_é.‘-z'-’QS"
Tmedocum@“* FHG*’°"

cum 32(\0)

with P\ule 55 an @

 

DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20070 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

